gr amy

UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT
OF LOUISIANA

RICKEY EVANS (bec #103026

Enter above the full name of the plaintiff or plaintiffs in
this action.

VERSUS

PA STAGG, 1M YSIMITH
2 LACUNEY; “LN Divi DUAL
CAPACITIES.

Enter above the full name of the defendant or defendants
in this action.

COMPLAINT

I. PREVIOUS LAWSUITS:

a. Have you begun other lawsuits in state or federal court dealing with the same facts involved in this
action or otherwise relating to your imprisonment?
Yes i No ( )

b. If your answer to A is yes, describe each Jawsuit in the space below. (if there is more than one lawsuit,
describe the additional lawsuits on another piece of paper, using the same outline.)

1. Parties to this previous lawsuit

Plaintiffs: Ricken Evans, poe # 1p GOA

Defendants: Burl Cain, ilarden o€ Loutsiaay Sede Pen Hendra ve

2. Court (if federal court, name the district; if state court name the parish):

a 3 fog go * ¢ a or 2 = x,
Aly Judicial Dist« Gurl) East Bajou Reuge Pacis h
@

4. Name of Judge to whom case was assigned: Joh Wh. Semank Ce: MM ISSICACL
Donald Johnsen, Dister ey udp

3. Docket number:

mn

Disposition (for example, was the case dismissed? Was it jpppealed? Is it still pending?):
Dismissed. Filed notice epapperl» Later Liled Yoluutach dismisserls ag notice
6 appeal wip Disteict- @urd- aud Cait of aypypeél ptivite fthiag BALCLES ¢

6. Approximate date of filing lawsuit: June AS, 2009

7. Approximate date of disposition: Uazyes (by Jude), 5/06/09 Wolwatang disanessal by plas:

PLACE OF PRESENT CONFINEMENT: Louisiana Sinle Pov iden tar

a

a. Is there a prisoner grievance procedure in this institution?

Yes (i No ( )

b. Did you present the facts relating to your complaint in the prisoner grievance procedure?

Yes i No ( )

c. If your answer is YES:

1. What steps did you take? “limely
Maw id; 2008 ane May i, A008.

2. Whatwastheresult? [n€@ p Lnacei4 Appeals was o covpted consolidated
Uncle DBA ES 2. 4009 O2O7- ia) aud denied oa the pausids,

d. If your answer is NO, explain why not?

PARTIES:

(In item A below, place your name in the first blank and place your present address in the second blank. Do
the same for additional plaintiffs, if any.)

a. Name of plaintiff: Rre Kew Evans, pocde (CS @C2QE
Address: Loutsiang Stee Peni entiace Angela, ch FOS

(In item B below, place the full name of the defendant in the first blank, his official position in the second
blank, and his place of employment in the third blank. Use item C for the names, positions, and places of
employment of any additional defendants.)

b. Defendant fer eu Stag 9 is employed as
Assistant Warden at The Louisiana Shae
Pe, }. f- he cdi i fia ftie Cle

a

c. Additional vivles; James Tilman,

Ce Ceechens secon wpe BNO re, AAT POI (Alow i (are. Seepuertiy G } i }
p. bre bays Cece, decuatty Seegeint- Allare Cia Played ad The

Loss Sé dh

Angola, CA 20° (8.

s a

STATEMENT OF CLAIM:

State here as briefly as possible the FACTS of your case. Describe how each defendant is involved. Include
also the names of other persons involved, dates and places. DO NOT GIVE ANY LEGAL ARGUMENTS OR
CITE ANY CASES OR STATUTES. If you intend to allege a number of related claims, number and set forth
each claim in a seperate paragraph. (Use as much space as you need. Attach extra sheets if necessary.)

“i ” ; : ‘ : ° 2 By, 4
4.) Ihe defendants penain ave sued in-nee ind vie

navi oe . lua! capacihés savel
individual ly where theic dive of and indisect ard tutéshonel ackoas

and foc iMmactions violated Plow Ce ‘s eights, and wirere Hele acteoens

% < yt. ~ fi. i, ye ue go bl . Sg Y 4 ‘
ar dos inathens Cath jnchuidaal lig aud in aces eal With one or im sae
“core woth o ~ Me

0 dhe, delendauds cégubled in tne dep nivatous of ple Wh hE !S
Coustdubeonal Rig bois.
The delendants |

VERT ARE Sin ed whereby The plainde£e ,
IV. STATEMENT OF CLAIM (Continued).

ae poe? eye Afc%3 2 s ey ose ; : 77 i x
3ukCened Hireugh a direc, intentional and i noua ack by +e

*e sponsable de-bendands whieh was nok prevented stopped er
MEL Vened jy oe Cortecded b pes
where, by ys
biltties and
Phevtte€e ty

4 AuL 2 2 4 anno )

os j any OF me named delondants
ge cdl Po ge » 3

MUe OF thee Prelession

Reverted! ducl/or stopped

Sm « TD 2 ee PS te de 30° ¢
‘he The he beindande inert o- : ° _ Promptly pepe rt
4 WEE Yiolehine 0 ap ten AGU ikno;
and Lou see PUNE PARLE S Wicted Stedkos Coch lid
bt +19) Cougs dilish of . OPPS loa Stebibten a
Ubtov ef iRtq bts. u

Each and e
é every i a €
(Mere named d@fendind 1s sued
“ MCVNM AUST 1S LUE

2) JURISDICTION AND YEnue

[his Neo €¢ “3
- pee $2 Civil arene . : S

ij? U-S.€ © twa bGhtis acliew 413 Lb peug iit pupsaand ty
rae C, Seckion (4 / f oe

ay ¢ *
By 3, be Pedpe sg - tr.

SON tee depeivaion of United Su

Pg. inkentrern al vnict ~ O Person whe as suke f
reeled Coged. ‘buds - lations of Well € stablis bef a f *s
° Ser fe it 4 f Su, i AG Pham
wig f Kig hr. pre
WAV. STATEMENT OF CLAIM (Coutrinued).

“This Honorable Court's fandent/Supplemental Suis
diction authority 13 Invoked ovee all Stade law Claims of
Negligence, Gross Megiigence , inténhinel toeks and these
under Whe Louisiana Constifuhoa off IV74.

“This Honvrabiz Coucd 1S the Peopes Court oF Venue Loe
+s Civil a¢bien , Whith vielwkons occureed! enhinely wethin 4s

“The Pla bil g i
Dhnyunetive pel

30 Seeks Decla cate ry fivdgenent and
ret and Regwe sd A drial by jury:

WH the Nang

: / “ Pamed dotendauds Un lavrtally
“ea lated against the Pla tite then dabsely accused him of
M10 lasting Pisum pales, bom they gvel farth Cxerciye vt Plait s

hiesd Amendyrerd- Reghks -te-the. U.S. Coustitetion,

4) On Taeiday, Ap
2808 Acceptance fp
o€ Friday Ape Mt number j2 Ov
Cuda Camp 35 +e P leigh BE WAS “approached
by delendend Peep Stagg and a Parking Secugets ObFIce ov)
(| Cerne 4 agg i ‘7

the N-Tean, Jiu “CL

vel O8, 2003 i AL Lee receiving ne March 26,
vive Loe fy RP# LS 2200 7-2.

GS) On #7. ny Ld
if OW 320028, while housed in te

Sh iff &

Ya.
IW. STATEMENT OF CLAIM Gontinued)

a

5) A this sate dand Stay asked plait et did he filed an
ARP va Duly 22)2007 about being tw a Cameca wil,

b) \ he evi Hine plawiteey CHAS wered Ww HA, ate im edt by d @ tendaw fp Gira q4
asked hin would he drop the ARP, und procedded iz offer +e
Plaimtele tu significant material meentives iv exchange foc

de ing SO«

) The f| ounce feud dech ined Setendant Stag 's offer, and instead

%

Covrtinued -be exercise his rig iybs.

8) i) eCendant stayy fn en shebed HO plurnbit'e Het i LOW id be wi plaia ox
HEO'S best iwivoest of he dropped ARPHLIP-2007-24 31.

ee

officen(yoho betore had s hepped ito another inmate's cell apea do speak
boi 44, af invade.) stepped back into plait 's bovth to inve stigedte
where bela he and defendant Stay Siwed ali sapprev i ng iy ar
tre Plante rtHren dott wolked out of the boots avd u p the ter.

6 i le ium iba & at. a Poy ds é , ks 4
q) WW Hew The plain ivadly said 10 +o detendant otagy » Heed hh Ten neuaKing

0) clin ARPELSP- 2007-24 8) (in woich tre plainhCe is cha eng ing
ane Fedecally violate peactces by Camp T priser o€€icials and
okticers oF housi ag Os mi x of both T- Cede, mont! heal ond
Suidde inmate patients ao nd nou- T- Code, aen-m etl health
Ovi d none Gu iSide 1 meles on the Taine Hues and Units an d
Placing non- T-Code ,non-mentsl heathy. and non-suiside

Lhe.
mmodes in the cameca cells without py Icy -yashe~
Picabien, wy eesulting conseguences te Such tnmertes 9 while

Me in~eell Camesa Mentors ane iin Fall opecation, and in
Sdch celis wh ACA ~Standayd deemed
Lighting 54 Stems) tne Plaintike speceitally regirestedl on page
vinimnbercg) , Patagraph 6 OF bis inprad July 22,2007 ARP
gtiwance leHer , “Tal. TK Suthnfn of Refaliawey Ovccde ons biy

D0 cf Lsp employees OS a CESUTE OF pis ARP Complaud.™

I) E.ach day Sthee, » duvting the day ShHALb 5 Ahonen and or
more Sawkang § ecunity OF cers and OF Ficia is (Caphy ns
Aboud) made thew founds ou Cada 3+ Rig it “Heo » the
wes repecdedly havas sed gis thd raw ng ARP H&L p-300'7 -

244 Qj ov

< “up A vet | f\ 169 g ba

Le YY + e . HE , WHEW pts, 0 P ae
dows Petal oy tél & Qa asd ane place. the de

inadeg,iverte in-cell

i

4/ Wit the CxCePh en of Captin Sonu Welis of dhe D-Team
Ond Master § eeyeant ” Watkins of dy C Team (bern night ShiFés)
core te Mked the plaiattf tp deep MRPHLSP.2007~246,
with the leer Sheng that it would look qoudk oy his
fart if the Warden See's ins Pare On the ARP Wop

Arawseal Porn, . D4 is Sti|| nek Knew Which Wadler

Masie.- S204 Cin Wat eas Meayt.

Lee.
IV. STATEMENT OF CLAIM (Comtriwed)

(2 Ou Or ‘aboud Apr iDy 2008, defendants Shag aad Sunith
SFepped ot The pliwndree! s Sssignal cell en Cuda 3- - Right cel

a 2, and. Ag Gin’ teved t0 Get him 4o withdraw ARPALSP -2007-
28).

(3) When MHL PldiokPe ¢ Again Vetised, peth Ae.Lonrelarads Stag 44

dnd Suith Sirsd loole at each CMEC, Hey ered) began FS
2ht the beolp, en Clesuse,

WW) However» as detondant Stagg dooned yp the-ter to heame,
defendand Surtt Stopped at the doorway, twned toward;
Plamh£e and Yeove iw a menacing SNe) Slog] ly Showk bis

head , im an up and down motion, then Pointed ins fing en eaf-

Plame beCoge Ler | king OL£ As Though Sfendand- Sut
was WOnning dhe plaiHer det jp

é. My bad wsilj happea 4

he did Hot wo Hd aus
© bins ,

P Po ceefel up Me pear Past +he Cel Gad
Plasinh “, leben Simuth SHopped at ceil iumber(12) where
+he Plage WAS SH J) Heuser °n Cuda 3- Ruy hie, Gnd once.
mote teped +o qe ‘tne PlawntilF 46 withdoays ARPHLSP.-
2.007- 2ZU81, ris fine Theoug ii event intiimedation .

Ig When + the a oe CHCe more Li latly eefucod kp Vth deow

tened plinle fe lu Stecbing
iV. STATEMENT oF CLAIM (Continued)

Fo hun é

“aWearper qoing +b send your es “fo Level One I-Code
Gree) in aw

we Podee 3 *
Camera Celi... See how YoU hike het.

I) Dn Wednesday, Apeil 23,2008, defendants St

qi] Smith,
Tilman, Woeds wad Lae

hney cetaliated again sd te
Ploumtreg under ne brens parent quice Of a eelj Shakedown

and £4 ise accy S44 on Ss Of ule viclohous foe CY Lng ane
Moarntoiy ing ARPH#ELS P-20 O7-24 8).

19) Defendants Stagg » Smith, Tip)
entered Ae P laiu Fe > eel
Camp 3, Wheveupon the
Cel by deliberade
of lege | work y doe

dumping MEM abo

MSS aw el

Mon and Wye toy ether
Cucla 3~Right 4 19 of

4 ‘Together intentionally Frashed his
y Faking cach byowy Man ila envelope
“iments aud papecs, and indiscriminately
" ib AME CEU indo a lage , dix nga niged
Inrentivin a ys legally and UACOMs4 buttoned};
distoyed dis Posed € and confiscated Piawmtde s Peesonal
ems and ieqal werk and dOCU ments by Mmalierousiy Hpo wine
some inte the beast “ow fearing up some ang both Flushing and
a-Hempting “he Liusii om & down tine totiet, ten +aiame non-legal
worl/docuinents items Foom plays cou yc them when they
liebe, never returning them.

{ on

a ind;

2) Ton pieces of legal wool aud Jecuiments were found by
Plaintibe tying On-4e Floor aoound, unde and inside me.
foilet, and on the Floor outside of Plaid bes cen bug inside
the pooth enci@sMre vf the ceil.

He.
IV. STATEMENT ©F CLAIM (Contiuued

(9) When 3d fendancs Stagg, Sm th J Titman ane Woeds
eviteved ine lobby oF Cuda 3, the plamnhke and othen
whales py Card defendant Gurlp, divect deCeudant Lachae
Wie nerhey Shook down piety Ue Wis, mor was he

in the Plame? ’e cei during the eelevaud- dade ond time,
+o woite he duseiplmnacy Seport agaust plawhle aj
hewed Jetendount Tilwan Stake bo defended Lachne
Which dy Scip mary Suie Aumber +o prt on tne Pe por:

Ya

ae

20) The piainttee wos the
Separate disci

Accusing ahe

Moatliny ;
nary Fe ports by d
Plaintiff og veola
and Rule a 30 WwW (Generaj Frohi (Dj c eqediiy
having iM his ceil rin tig desnking Comlaingns and aned
becyes| Work, Ce spectively.

thes inmate's
Z1) NG PO AiMe Aid.

Hie f leg woh EC have i nis ce} |
Apeil 2.3)2 Oe, OU
the Ap oii 23;

4 OF ting atieg
2003 Arscipiinasy

22) The ploinh

Ment Poonam Disciphuaey Beaod Com miklee (Bowed) on Apes!
24,2008 4 the, Rule tf Conteaband report and ne Me
2008 (on the Gin

eZ,
o4 ended Rute #30 nw (Generg| feo wibded
Behavior) TE pe et),

oO” OF abocd
ed Hems ished dud déscmibed ‘ws
Feports.

fC WAS De oughd Pelone dhe Cama ay Meanage-

Lt.
\W. STATEMENT OF CLAIM Gon hinued))

23) Ai beth of

r4He Lunal Board hearings oF he matter on
Apel 24,2008 and May ©2.,2008-- on whieh defendants Peni
and “Tillimon were the Chaéemen, reéspechvely--3 +e Pleutybe
Pied not quilly to peth teports, Pousended Oval motions and
d éhenses and was thereatdesr Sentenced -ba
‘Fenees on each.

imposed son =

ZY) Ax tne Apsil 24,2008 and May 02,2008 Board heat igs
Mere were neither preset noe presented any independent
evidence with Which be even aHempt be support andfor
Substandate Me fase accusahens Container! ih,

defends nb
Lachwey ‘Ss t epordy.

25) Som Chme atler ane
behind defendants Stagg

Lachn 44'S velalintoes
by détemdant Stagg

26) When tne Plawteke expressed disbelief i, deFendant
Shagg at again being Salsdiy accused eaugl wrilen up and

Seutenced ts Level One foe exercising his Constilusena |
“a Be A ep g? f & se . ¢ Z
UNE) defendant Stag ceplied, “wer
COMES “fe 4OuU and asic you be
YOU Shouid de..

May 02,2 009 hearwa, ine metive
D Smith ) Woods , Till

non y and
AETIOUS Wiene Maniles

J in woods

3 Nex hime somebody
eof an ARP,anen Helle what

“and Step The bullsood and leave Camp J. »

Leg:
WV. STATEMENT OF CLAIM Continual)

27) Wien He plambee neat sdevled bo defendant Steg nat
he do not fle ARPs 4+y turn atound and deop ew,

detendand Stagy im Ces Ppouse, Stated, 4 Then you will be
Siqhit iw heve YOuUTe aes, on Level Onel »

29) The plainkee

Ae rt Hmely appealed the Roged$ actions by
c ‘lo . den on 2008 and May 4 s2008- La Ins

e C ive AOD Orr i . ° é
of Ceballahon , And Laise ActUsnbongse (01 4, “

ce ha 4 MOS Lailuee bo Produce ev)
Pres ent inde pendent Qwvidence At tye heating To Su pporr and
Su lostanhocde. dye false, reports y hearing OR cers ’ diewet
tavolvei ent iW the obleged i cy déut/ Wn pe rtial heag, ng Oicers
and te Mapphicability oF tha “some evidence” surged

2
to both the pepocting and nearing officers.

sed ne ISSUES Ond cl

BE Oeyieuy

99) The piaimti€e 's ad minishrative Appeals was acce pted and
consvlidated, without piaimic(t's Obyechory, by Prison oCicials
under Disciphnacy Board Appea (OBA) Numb ec LSP-2008-0307-w,

amd jatec denied ia tbs entirety ou the meits.

30) The Piantil aud PCopecly exhausted hus adimiunsteahue
APPEAL in DBA LSP.2008-v207-W.

Lt.
\V. STATEMENT OF CLAIM Goutinued)

31) The plainhfe tincly Gied a state Peilehon Por Judicin/
Review m we disteich coud, Pani sh ef East Battin Rouge,
under docket number CS6S,S0b, Seclion 27.

32) Tre Sele issues caised by the Plamhtl in nis sede wud

Pelion, and the ONLY ISSUES dnt were Ptoperiy before that court,
youre!

&g,.-
j 2 be gs * 4 é * go
4) Woether tne alleded Hams listed oud desceibeal in
Hee eepert cleanly celieels and Coustitides

Vie tps , oe
A Weuuthocized Lheus Cather

lation of Rule Neg
thaq Rule We S
. ue 2 > 6 4 ys i gat . 4 2
le No L Contry bod), and Should have been

Amended AS Suc? ;

G ned)

2) \Nhethoc tne Boord's Chaitman @eted when he
dem denied pobilivap 's Mebhonde amend Rute
"No

' L Conbea band) +0 4 Rule No.4- A Unautnoerze))
hen, sy? w

33) Ihe plat Ss Stole Court Petition was disenissed by
Commissioner John M. Smack on Au

gust 13,2008, and +nece-
atrar by Sadg Downedd Jowasen on

September 15, 2008.

Bu) On chores 2| 200 8, tne Pian LE Cired a timely nohee of
APPA, daked Octobe 17,2008, with the disimict count, andy Lop
“W. STATEMENT OF CLAIM Coatnued)

eas ONS Srabed yy dhe ladder 7 Aud, too; OCboee the (| wg of au

{
ed w motion Lor veolu ever dismisser ly dated
May O14, 2004 ) w oth Hw distrrek courk on May 06, 2.008.

belels , thereatler ¢)

35) How ever, Wien ib became. a ppatuntk +o Plame tat iis
Melon wos wet Promphiy acted upon Cond may never oe) bi
se ‘oat “leocnecd on cdf ® ee
And. istered cours , due to continued “ecord actividyp 5 the

: afl “ys A og ton
Plan hey thereatter, on May 22,2009, Gled a cecoud mokeon

° é ( ° ‘ oe hee pe a? ‘ ihe eorit i, of i I Ee ede,
Aor yo luntdey disiatsSaly this thine with th siute ¢ ppellate cows

36) his Scidg foliows .

CAUSE OF ACTION

and Knowing

: vue iwi litul, deliberate , evil, Wa licious

f retaliatory oetions and iNactions of dekendanks
Peery StH Jim my Smith a James “Tiina ) fete elk Woods end
p, Lo ch byey » done under Co Lor of State law,
Plawlt tl o 4 hes Well Established aud pootede
pedeess of grievance

deprived tie

J sights to the
pend -to due Process
erate indi ffevenw. to, and in

3, ACCESS CO the Courts

of ne. faye 2 eh iDibing a dalib
diveck violation of tine plarntiee

& ase und Fourteenth Amend-
meats Robby bo tha

% ed Seles Constitute W«

39) The Kinds ing » deh berate } willful and intentional Jwlative
achons and imactons of the Named defendants dep Oived He

Ly.
WW. STATEMENT OF CLAN CeBatinued>

Plainfe of nis well established and protected prghts te access
+o the Cours, tedeess 0f& Grievances, and 4o due Process Of +g,

he ‘ 4s 4 | “4 / . 5 “ne ee
law ) exh ibehing a deliberwte indifference to, and ia direct

: ‘ . oe ees eng ° 4 “fo ft die i...
Vieletion O& dye Plante © rights under we Louisiana Constitubion
ol ( G7 4), and Safe Stetutocy idus Violations od Me
lspe $s Ne

: gl GEC. 7
4 liger Ce, wd rent

) q" Jo€. sande Ce. wae ao: saga . g ;
3 tA D Chendands are 94) om eek , till Man, WNoods and Lach Mey )
throug i hy die tenHovnel } w iliCy) j delibera, :
Mea i i Ault a md cedaha focy actions ang inaideons rowed a
Reckless dis Ceqaed for ane Constitubionul @: qhts O¢ the plaiwtdf.

ip , Rw vueng s evel and

Ve RELIEF

Spee

0) Ihe pl aint EL oe speck-ul ly © aquest a nd p OY thak dois
Honorable Cound Grant +p

him the foitewing rete !

/
’ 4 i . fe. cy yen eg’ °° BA heey © hea.
O - Dn & hundred +housand dollars (f (00.000 ) Compan sare
dam AYES ; and hive lhundced and Gét
($ 256. O00 “e) Punitive da midge

yy A fog
4 tousind doilars

5 Anite ast defo Band Rep y Sinay :

#

b. On @ lhundoed and City thousand dollars ISD. poe oe

Compenser @ ry damages 2 ng thee, hua deed thousand dallaps
s 300. O09 28 Purafine Fron es Agate iF dekendant
iim my Simrth y

Lp i.
‘ ae : tL laiinas Ae AHO. &S
C- On undead and Filly thousand dollars 150. 000)

Com pen Sibory de mages ; ang Hees hundred Hou saad
d ollans (g 300. 000 2.) pwd vd damagges age inst detordand

OamM2S Villman Q

in el iA Neos HAOUS and Joi laws (F 100. 008 go 5 compensictocy
; aay py Gf
diem “yess and hoo hy wideed Housand doilaes (6 200. BOO =
o & = | ey 5 é 2 & sa bn *
pun Hine dame yes again se dé Rindand Pate tk Weeds 3

@. Dn @ hundped thou sand do lacs $ {00-000 ee) Compensatoey
damages ff nd 4wo h undped Cun d Litty Ha OuUsan d dollars
($ 250. voo 2’) Panrteve dannages against Jelonrdant

Pe Lach ney,

Oo dee Mak the Movil az, AO00S dive Pliv ary ceports

he expunged Loom plang Ce 's

poison GleGy and
¢2 Coed (3) 3

9: Asses any and all court eosd and $22

bo the defendants ,

Lea.
Vv. RELIEF:

State briefly exactly what you want the court to do for you. MAKE NO LEGAL ARGUMENTS. CITE NO
CASES OR STATUTES.

he Ocder such (uethner WAS pect ed pelied deemed quod
Po per, A eoessocy ond sufiel end by +s Honorable Court.

Signed this __ A3 te day of Mav , 4a 2004
Qt app comin tite, 21 00 pea. ke ibis Ext YR

(Signature of Plaintiff or Plaintiffs)

| declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct.

Executed On: May AB, DIO4, (Wa

Sign ure Of Movant

Signature of Attorney (if any)

Feage Se. pe Ge number 6g “)
NG,
UNITED STATES DisTRicT COURT
MIDDLE PISTRICT OF LOUIS; ANA
RICKEY EVANS

CIWiL ACTien
VERSUS

PERRY STAGG,; ET AL

AFFIDAVIT

VERIFICATION
STATE OF LOUIS iANA

PARISH OF EAST BATON ROUGE/
WEST FELIC/AN A

TL, Rekey Evans, DOCH 080A Deng fuestduly sdvorn sunder

ay SAGs! Weis the pla by €C im this 81483 Cal Reg iobs ACHTOM
ang

Fovey ovag Complaint; that 14

ended oon day been
emded over - 4 dddpessed, See ost

slog _v- Locks, 109 S.C, 2379 (1439),

ue tek fopra_ dtp?

Rickey Evans Doc #108026
SUBSCRIBED AND SWORN To mE THis — LA day vy Ine

3
2004.

Cg hbo fuphors *aihes peoson authorized to adimimsier an Oath

Ex-Officio Notary.
Dept. of Public Safety & Correcti:

LOUISIANA STATE PENITENTIARY
ANGOLA, LOUISIANA

DECISION REGARDING APPEAL OF DISCIPLINARY ACTION

APPEAL NUMBER: LSP-2008-0307-W || Received ByMe On The Night

INMATE’S NAME: RICKY EVANS 108026 OF Monda *une00j2008.
Deliverin ‘Deeizer Sat

HOUSING ASSIGNMENT: J GTR 3/R
Newman, & Team Night Shiet.

DATE OF REPORT: 04/23/2008 /

DATE OF HEARING: 05/02/2008 ~

ORIGINAL CHARGE: RULE #30 W, GENERAL PROHIBITED BEHAVIOR; RULE #1,
CONTRABAND (2 REPORTS)

PLEA: NOT GUILTY

CHARGE FOUND GUILTY OF: RULE #30 W, GENERAL PROHIBITED BEHAVIOR: RULE #1,
CONTRABAND (2 REPORTS)

SENTENCE: 12 WEEKS LOSS OF YARD; 12 WEEKS LOSS OF CANTEEN;
QUARTERS CHANGE TO LEVEL I; 6 WEEKS LOSS OF
TELEPHONE

IMPOSED OR SUSPENDED: IMPOSED

DATE OF APPEAL DECISION:
DECISION: DENIED

Appellant was issued two disciplinary report on 04/23/2008 for a violation of Rule #30 W, General Prohibited Behavior
and Rule #1, Contraband. Appellant was provided a hearing by the Disciplinary Board on 04/29/08 regarding violation of
Rule #1, Contraband, which resulted in a sentence of quarters change to Level | and 6 weeks loss of telephone.
Appellant was provided a hearing by the Disciplinary Board on 05/02/08 for violation of Rule #30 W, General Prohibited
Behavior, which resulted in a sentence of 12 weeks loss of yard and 12 weeks loss of canteen.

Appellant argues on appeal that he was denied a due process hearing, that the board erred in denying his motion for the
chairman to be recused, that the report for violation of Rule #1 should have been amended to Rule #1a, the sentence is
excessive and the disciplinary reports are retaliation for filing an ARP.

Appellants presented no evidence to substantiate his claim that the reports were issued as a retaliatory action. in
accordance with the DISCIPLINARY RULES AND PROCEDURES FOR ADULT INMATES, performance of a routine
administrative duty does not constitute “direct involvement’ or “bias”. Contraband is defined, in part, as: “no inmate shall
have any item not permitted by department regulation or institutional posted policy”. The Disciplinary Board found the
report to be clear and précise and the reporting employees’ account of the incident appropriately supported the charge
and provided sufficient evidence to warrant the guilty verdict. The Disciplinary Board's decision is deemed appropriate as
to the finding of guilt and the sentence imposed. .

The issues raised by Appellant in this matter have been reviewed and found to be without merit. Appellant was provided
a due process hearing by the Disciplinary Board. The decision of the Disciplinary Board is deemed appropriate. Appellant
has presented nothing which would justify reversal or modification of the decision rendered through the disciplinary
proceedings.

The appeal is denied.

Burl Cain
Warden

BC:dld

INSTRUCTIONS TO INMATE: This decision constitutes the final administrative decision of the agency. The Secretary will only consider
appeals from decisions which resulted in the imposed or suspended sentences of one or more of the following penalties: 1) Isolation; 2)
Forfeiture of good time; 3) Custody change from minimum to medium only if it involves a transfer to another institution; 4) Custody change
from minimum or medium to maximum custody; and 5) Restitution. Since none of these penalties were imposed, you may not appeal this
decision to the Secretary. If you are dissatisfied with this decision, you may request judicial review in the 19" Judicial District Court within
30 days of receipt of the decision.

Case 3:09-cv-00337-JJB-DLD Document 1 06/03/09 .. Page 20 of 21

ZikI-loSal, YT’ bnsy usps]

bel BUNS | OO vp N89) 5 bh
poise] po P™EIG > PPI
pind eMC] - “<Al:

payer

ne) 4 PO Nat)

ve

me 1?! \ MOF

C:
enl#ood' SUONT

Case 3:09-cv-00337-JJB-DLD Document1 06/03/09 Page 21 of 21

i
i
° ‘ ny
: 4
6
‘ ne
rm
“ A
Saeeenne ho a

nowisod
avid

:
